Case 1:16-cr-00301-WFK         Document 44        Filed 06/16/17      Page 1 of 9 PageID #: 144




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                     -X
 UNITED STATES OF AMERICA,

                                                              MEMORANDUM & ORDER
                                                              16-CR-0301(WFK)
 MARY ADAMS,

                               Defendant.
                                                      X


 WILLIAM F. KUNTZ,II, United States District Judge:

 On January 19, 2017, Mary Adams ("Defendant") pleaded guilty to one count of conspiracy to
 distribute and possess with intent to distribute cocaine, in violation of 21 U.S.C. §§ 846 and
 841(b)(1)(C). The Court now sentences her and provides a complete statement ofreasons pursuant
 to 18 U.S.C. § 3553(c)(2) of those factors set forth by Congress and the President and contained
 in 18 U.S.C. § 3553(a). For the reasons discussed below. Defendant is hereby sentenced to 12
 months and 1 day ofincarceration,3 years ofsupervised release, and pa)mient ofa $100.00 special
 assessment.


                                         BACKGROUND


        On May 29,2016,the United States filed a Complaint alleging Defendant and her co-

 defendant had unlawfully conspired to distribute and to possess with intent to distribute cocaine,

 a Schedule II controlled substance. See Compl. at 1, ECF No. 1. On June 7,2016,the United

 States indicted Defendant and her co-defendant on two counts:(1)conspiracy to distribute and

 possess cocaine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C), and (2) possession of
 cocaine with intent to distribute, in violation of 21 U.S.C. § 841(a)(1). See Indictment at 1-2,

 ECF No. 10. On January 19,2017, Defendant pleaded guilty to Count One ofthe Indictment

 pursuant to a Plea Agreement. See Plea Agreement ^ 1, ECF No. 34.

        The Court hereby sentences Defendant and sets forth its reasons for Defendant's sentence

 using the rubric ofthe 18 U.S.C. § 3553(a)factors pursuant to 18 U.S.C.§ 3553(c)(2).
Case 1:16-cr-00301-WFK          Document 44        Filed 06/16/17      Page 2 of 9 PageID #: 145




                                           DISCUSSION


 I.     Legal Standard

        18 U.S.C. § 3553 outlines the procedures for imposing sentence in a criminal case. If and
 when a district court chooses to impose a sentence outside ofthe Sentencing Guidelines range,

 the court "shall state in open court the reasons for its imposition ofthe particular sentence, and ..

. the specific reason for the imposition of a sentence different from that described" in the

 Guidelines. 18 U.S.C. § 3553(c)(2). The court must also "state[] with specificity" its reasons for

 so departing "in a statement ofreasons form[.]" Id.

        "The sentencing court's written statement ofreasons shall be a simple, fact-specific

 statement explaining why the guidelines range did not account for a specific factor or factors
 under § 3553(a)." United States v. Davis, 08-CR-0332,2010 WL 1221709, at *1 (E.D.N.Y.
 Mar. 29,2010)(Weinstein, J.). Section 3553(a) provides a set ofseven factors for the Court to
 consider in determining what sentence to impose on a criminal defendant. The Court addresses

 each in turn.


 II.     Analysis

         A. The Nature and Circumstances of the Offense and the History and
             Characteristics of the Defendant

         The first § 3553(a)factor requires the Court to evaluate "the nature and circumstances of
 the offense and the histoiy and characteristics of the defendant." 18 U.S.C. § 3553(a)(1).

         Defendant was bom on October 27, 1960, in Los Angeles, Califomia, to unmarried

 parents. Presentence Investigation Report("PSR")^ 39, ECF No. 35. Defendant never met her
 father and was raised primarily by her maternal grandparents, as her mother was only twelve
                                                   2
Case 1:16-cr-00301-WFK          Document 44       Filed 06/16/17      Page 3 of 9 PageID #: 146




 years old when Defendant was bom. Id.       39,41. Defendant's mother later married
 Defendant's stepfather when Defendant was nine years old, but the relationship was volatile, so

 Defendant continued to live with her grandparents. Id.     41-42. Even so. Defendant reports

 having had good relationships with her mother, who passed away in 1997, and her four maternal
 half-siblings. Id.   39-40. When Defendant was young, her grandmother supported the

 household by working as a housekeeper and later with the Sheriffs Department; Defendant's
 grandmother is still alive but suffers from Alzheimer's. Id. \A\. Defendant visits her
 grandmother every day. Id.

         Defendant had her first daughter, V.S., when she was seventeen, at which time she

 moved back in with her mother. Id.         V.S.'s father did not provide child support or maintain

 contact with his daughter or Defendant. Id. When V.S. was six, she was diagnosed as being
 developmentally disabled—specifically, as suffering from psychosis. Id. V.S. is now 38 and her
 mother remains her primary caregiver, as V.S. cannot care for herself beyond the simplest tasks.
 Id. V.S.'s behavioral issues make it difficult to find altemative care for her. Id. For instance,

 when Defendant was incarcerated for the instance offense, V.S. was under the care of her half-

 sister and aunt, but she refused to take her medications and became unmanageable. Id.

         In or about 1984, Defendant and her partner, who she later married, had a daughter. Id.
    44-45. Defendant and her husband divorced in 1998, at which time Defendant's younger

 daughter moved in with her father. Id. ^ 45. Defendant and her younger daughter have a close
 relationship, and Defendant now provides childcare for her grandson on weeknights, as her
 daughter works until 10:00 P.M. each night. Id. Defendant supported her family by working as
Case 1:16-cr-00301-WFK          Document 44        Filed 06/16/17      Page 4 of 9 PageID #: 147




 a school bus driver from 1978 to 1998, but she stopped working after injuring her back in a car

 accident. Id. ^ 66. Defendant has relied on public benefits to support herself and her daughter
 since she stopped work. Id. 65.

        Defendant has admitted to a criminal history and substance abuse. Specifically,

 Defendant has reported that the instant offense was her third drug transportation trip, id. t 84,
 and she was previously convicted of welfare fraud in 1992, id. ^ 27, and two instances of petty
 theft in 1999 and 2004, id. UH 28, 30. Defendant also has a history of drug use: she used crack
 cocaine from ages 20 to 21, and then again tested positive for cocaine use three times during her
 supervised release for the instant offense. Id. Defendant has subsequently received substance
 abuse treatment. Id.    58-59.

        Defendant was arrested for the instant offense on May 27,2016, at LaGuardia Airport in

 Queens,New York. Id.\2>. She and her co-defendant had arrived at LaGuardia on a flight from
 Los Angeles, via Denver, Colorado, and were collecting their suitcases from the baggage claim
 when they were approached by agents from the Drug Enforcement Administration pursuant to an
 ongoing investigation. Id. ^ 4. When questioned. Defendant told the agents her suitcase
 contained gifts her boyfriend had asked her to deliver. Id. The agents searched the suitcases and
 found two wrapped boxes, which contained cocaine. Id. The co-defendant's suitcases also
 contained similar boxes. Id.     4-6. Laboratory results revealed Defendant transported 9,957 net

 grams of cocaine and her co-defendant transported 8,987 net grams of cocaine. Id. f 7. They are
 each responsible for the entire amount of 18.944 kilograms ofcocaine. Id.
Case 1:16-cr-00301-WFK             Document 44    Filed 06/16/17     Page 5 of 9 PageID #: 148




        B. The Need for the Sentence Imposed

        The second § 3553(a)factor instructs the Court to consider "the need for the sentence

 imposed(A)to reflect the seriousness ofthe offense, to promote respect for the law, and to

 provide just punishment for the offense;(B)to afford adequate deterrence to criminal conduct;

(C)to protect the public from flirther crimes ofthe defendant; and(D)to provide the defendant

 with needed educational or vocational training, medical care, or other correctional treatment in

 the most effective manner." 18 U.S.C. § 3553(a)(2).

        The Court's sentence punishes Defendant for violating federal law and is crafted to deter

 her and others from engaging in similar criminal activity in the future. The Court also takes into

 account Defendant's previous criminal activity as well as Defendant's need to provide for and
 care for her disabled adult daughter, her role in providing child care for her young grandson, and
 her difficult personal history.

        C. The Kinds of Sentences Available

        The third § 3553(a)factor requires the Court to detail "the kinds ofsentences available"
 for Defendant. 18 U.S.C. § 3553(a)(3).

         Defendant pleaded guilty to one count of conspiracy to distribute and possess cocaine, in
 violation of21 U.S.C. §§ 846 and 841(b)(1)(C), for which she faces a maximum term of

 imprisonment oftwenty years. See 21 U.S.C. § 960(b)(3). If a term ofimprisonment is
 imposed,the Court must also impose a term ofsupervised release of at least three years,see id.,
 unless Defendant satisfies the mitigating factors in 18 U.S.C. § 3553(f), in which case the

 statutory minimum does not apply and the authorized term of supervised release is not more than
Case 1:16-cr-00301-WFK         Document 44        Filed 06/16/17      Page 6 of 9 PageID #: 149




 three years, see 18 U.S.C. § 3583(b)(2). Because the offense is a Class C felony, Defendant may

 also be sentenced to a term of probation of not less than one nor more than five years,see id. §

 3561(c)(1), with one ofthe following conditions unless extraordinary circumstances exist: a fine,
 restitution, or community service, see id. § 3563(a)(2). Defendant also faces a maximum fine of

 $1,000,000.00,see 21 U.S.C. § 960(b)(3), and payment ofthe mandatory special assessment of

 $100.00,.yee 18 U.S.C. §3013.

        D. The Kinds of Sentence and the Sentencing Range Established For Defendant's
            Offenses


        The fourth § 3553(a)factor requires the Court to discuss "the kinds of sentence and the

 sentencing range established for... the applicable category of offense committed by the

 applicable category of defendant as set forth in the guidelines[.]" 18 U.S.C. § 3553(a)(4)(A).
         Guidelines § 2D1.1(a)(5) applies to violations of21 U.S.C. § 846 and, per Guidelines §

 2D1.1(c)(4), sets a base offense level ofthirty-two, which is further reduced by two levels to
 thirty because Defendant receives a mitigating role adjustment under Guidelines § 331.2. See
 United States Sentencing Commission, Guidelines Manual,§ 2D 1.1(a)(5),(c)(4)(Nov. 2016)

("USSG" or "Guidelines"). Because Defendant has satisfied all five factors outlined in 18
 U.S.C. § 3553(f) and Guidelines § 5C1.2, she is eligible for a two-level safety-valve reduction.
 Id. § 2Dl.l(b)(17). Defendant was also a minimal participant in the offense, so a four-level
 reduction is applied. Id. § 3B 1.2(a). In addition. Defendant's acceptance ofresponsibility by
 pleading guilty permits a further three-level reduction. Id. § 3El.l(a),(b). Accordingly,
 Defendant's total adjusted offense level is twenty-one. Due to Defendant's criminal history, see

 PSR nil 26-32, she has a criminal history score of one and a criminal history category ofone,see
                                                  6
Case 1:16-cr-00301-WFK          Document 44        Filed 06/16/17      Page 7 of 9 PageID #: 150




 USSG ch. 5, pt. A.

        Given a total offense level oftwenty-one and a criminal history category of one,the

 Guidelines suggest a term ofimprisonment of between thirty-seven and forty-six months, USSG
 ch. 5, pt. A. Defendant may also be sentenced to: a term of supervised release of one to three
 years because she meets the criteria set forth in 18 U.S.C. § 3553(f) and Guidelines § 5C1.2,so
 no statutory minimum applies, id. § 5D1.2(a); a fine of between $15,000.00 and $1,000,000.00,
 id. § 5E1.2(c); and payment ofthe costs of prosecution, id. § 5E1.5. The Guidelines suggest
 Defendant is ineligible for probation. Id. § 5B1.1 cmt. n.2.

        E. Pertinent Policy Statenient(s) of the Sentencing Commission

        The fifth § 3553(a)factor requires the Court to evaluate "any pertinent policy statement.
 .. issued by the Sentencing Commission." 18 U.S.C. § 3553(a)(5). Consistent with the
 Sentencing Commission's Policy Statement expressed in Guidelines § 5K2.21,the Court may
 consider Defendant's uncharged conduct that was not included in the calculation of her
 Guidelines range—specifically,the two previous drug transportation trips to which Defendant
 has admitted. Id. §5K2.21. On the other hand, pursuant to Policy Statement 5H1.6, the Court
 may also consider Defendant's family ties and responsibilities in crafting her sentence,
 particularly the care she provides for her daughter and grandson,the loss of which would "cause
 a substantial, direct, and specific loss of essential caretaking ...to [her] family." Id. § 5H1.6
 cmt. n.(l)(B)(i).

         F. The Need to Avoid Unwarranted Sentence Disparities

         The sixth § 3553(a)factor requires the Court to consider "the need to avoid unwarranted
Case 1:16-cr-00301-WFK          Document 44        Filed 06/16/17      Page 8 of 9 PageID #: 151




sentence disparities among defendants with similar records who have been found guilty of

 similar conduct." 18 U.S.C. § 3553(a)(6), The Second Circuit has affirmed downward

 departures where a Guidelines sentence would impose extraordinary hardship on a defendant's

 family, and particularly in cases where defendants are "solely responsible for the upbringing of.
.. children." United States v. Johnson^ 964 F.2d 124,129(2d Cir. 1992); see also, e.g.. United

 States V. Galante, 111 F.3d 1029(2d Cir. 1997)(similar); United States v. Alba, 933 F.2d 1117

(2d Cir. 1991)(affirming downward departure where defendant's imprisonment would harm
 adult relatives needing special care and might result in destruction offamily unit). The circuit
 court's reasoning is consistent with the Sentencing Commission's rationale in the above-cited
 policy statements. For the reasons stated in this memorandum and order, and considering the
 other six § 3553(a)factors, the Court's sentence avoids unwarranted sentence disparities.
         G. The Need to Provide Restitution

         Finally, the seventh § 3553(a)factor, which requires the Court to touch upon "the need to
 provide restitution to any victims of the offense," 18 U.S.C. § 3553(a)(7), is not applicable in this
 case, see id. § 3663.

                                          CONCLUSION


         A sentence of 12 months and 1 day ofincarceration, 3 years of supervised release, and

 payment ofthe $100.00 special assessment is appropriate and comports with the dictates of§
 3553. This sentence is consistent with, and sufficient but no greater than necessary to

 accomplish, the purposes of§ 3553(a)(2).

         The Court expressly adopts the factual findings ofthe Presentence Investigation Report
Case 1:16-cr-00301-WFK        Document 44        Filed 06/16/17    Page 9 of 9 PageID #: 152




 and the Addendum to the Presentence Investigation Report and imposes the special condition of

 release proposed by the Probation Department.

                                                    SO ORDERED.




                                                      s/William F. Kuntz, II
                                                    HON. WILLIAM
                                                    UNITED STAT            TRICTJUDGE


 Dated: June 14, 2017
        Brooklyn, New York
